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                                               Horr Text to Gamrat

  5/16/2015 6:38:38 AM(UTC-4) "+18108583287 David Horr"                        iMessage: +18108583287
                   +18108583287 David Horr

  Burner phone audio evidence time to have an impartial party (ME!) reach out to the Courser camp

  5/16/2015 6:39:56 AM(UTC-4)                        iMessage: -F18108583287



  I went to sleep at 330 and woke at 530. She is gone, gas her jacket on but car is in drive. I think someone
  came by and picked her up and they're discussing a plan at some local backwoods diner. I'm looking now
  and then heading home.

  5/16/2015 6:40:57 AM(UTC-4) "+18108583287 David Horr"                        iMessage: +18108583287
                   +18108583287 David Horr

  She left you in the middle of the night after confronting about the affair

  5/16/2015 6:41:08 AM(UTC-4) "+18108583287 David Herr"                        iMessage: +18108583287
                   +18108583287 David Horr

  Sounds like abandonment to me

  5/16/2015 6:41:41 AM(UTC-4)                        iMessage: +18108583287



  Just her and a coat. She could be out walking to figure out how to get out of her mess.

  5/16/2015 6:41:43 AM(UTC-4) "+18108583287 David Herr"                        iMessage: +18108583287
                   +18108583287 David Horr

  You better lawyer up cya just in case...not kidding here

  5/16/2015 6:43:08 AM(UTC-4) "+18108583287 David Horr"                        iMessage: +18108583287
                   +18108583287 David Horr

  Not trying to offend here at all and I apologize for asking this before I do...

  5/16/2015 6:43:34 AM(UTC-4)                        iMessage: +18108583287



  I told my kids last night that I live them and am sorry for what is coming. And that I had hoped to avoid
  them feeling it seeing any of it but it is unlikely. They seemed pretty good.

  5/16/2015 6:43:47 AM(UTC-4) "+18108583287 David Horr"                        iMessage: +18108583287
                   +18108583287 David Horr




                                                                                                WIN000330
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   With her world turned upside down could she be a threat to herself

   5/16/2015 6:45:32 AM(UTC-4)                      iMessage: +18108583287



   I thought about that too. In afraid she might be. I was worried when I didn't see her anywhere in the
   house, although I thought that bay have been better. Thinking I might stumble upon her in garage or
   basement or something. If you know what I mean.

  5/16/2015 6:45:49 AM(UTC-4) "+18108583287 David Horr"                      iMessage: +18108583287
                   +18108583287 David Horr

  Does she have her phone?

  5/16/2015 6:45:57 AM(UTC-4)                       iMessage: +18108583287



  How quick is the turn around on the audio do you think?

  5/16/2015 6:46:08 AM(UTC-4) "+18108583287 David Horr"                      iMessage: +18108583287
                   +18108583287 David Horr

  Not sure

  5/16/2015 6:46:24 AM(UTC-4)                       iMessage: +18108583287



  Yes. I assume so. I wanted to check it last night after the confrontation because after I left the room she
  went into the bathroom Witt it. But, it was no where to be found when I looked at 330.

  5/16/2015 6:47:03 AM(UTC-4) "+18108583287 David Horr"                      iMessage: +18108583287
                   +18108583287 David Horr

  You didn't tell her you heard everything? The joining in shower, frequency of days this week etc?

  5/16/2015 6:47:07 AM(UTC-4) "+18108583287 David Horr"                      iMessage: +18108583287
                   +18108583287 David Horr

  Just a snippet

  5/16/2015 6:48:16 AM (UTC-4)                      iMessage: +18108583287



  Yes. I did ask her what room she was in and told her that it is disgusting and I hope he atleast wore a
  condom.

  5/16/2015 6:48:38 AM(UTC-4) "+18108583287 David Horr"                      iMessage: +18108583287
                          +18108583287 David Horr




                                                                                                WIN000331
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  She may be with Todd then hashing out whatever alibis, excuses, ending it

   5/16/2015 6:50:40 AM(UTC-4)                       iMessage: +18108583287



  That is what I assume. She probably was going to meet him but I moved her keys on her last night. :)

  5/16/2015 6:50:40 AM(UTC-4)                        iMessage: +18108583287



   I told her there was a call and I was asked if it was me. I said yes, and the guy on the phone said you
  need to listen to all of this regarding your wife and that I would be getting a hard copy of the audio at
  some point, somehow. And that he said a few other things but it wasn't a discussion. It was that above
  and them audio.

  5/16/2015 6:52:48 AM(UTC-4)                        iMessage: +18108583287



  I think she's probably out walking, clearing her head, and talking with Todd.

  5/16/2015 7:01:10 AM(UTC-4)                        iMessage: +18108583287



  I found her. She's walked to a public boat launch and is sitting on the dock. Should I approach, do you
  think?

  5/16/2015 7:15:47 AM(UTC-4) "+18108583287 David Horr"                       iMessage: +18108583287
                   +18108583287 David Horr

  No

  5/16/2015 7:16:08 AM(UTC-4) "+18108583287 David Horr"                       iMessage: +18108583287
                   +18108583287 David Horr

  She needs time space maybe

  5/16/2015 7:16:09 AM(UTC-4)                        iMessage: +18108583287



  I didn't. I came home and left her be.

  5/16/2015 7:16:16 AM(UTC-4)                        iMessage: +18108583287
                   Yep

  5/16/2015 7:16:25 AM(UTC-4) "+18108583287 David Horr"                       iMessage: +18108583287
                   +18108583287 David Horr

  Whew good call hopefully




                                                                                                 WIN000332
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   5/16/2015 7:16:36 AM(UTC-4) "+18108583287 David Horr"                         iMessage: +18108583287
                    +18108583287 David Horr

   I'd let dust settle today

   5/16/2015 7:17:40 AM(UTC-4) "+18108583287 David Horr"                         iMessage: +18108583287
                    +18108583287 David Horr

   Only thing you want to discuss is her ending it and moving on or leaving no other options on the table
   PERIOD

   5/16/2015 7:17:51 AM(UTC-4) "+18108583287 David Horr"                         iMessage: +18108583287
                    +18108583287 David Horr

   My guy is unavailable until Monday

   5/16/2015 7:18:06 AM(UTC-4) "+18108583287 David Horr"                         iMessage: +18108583287
                    +18108583287 David Horr

   I'll hit u up later breakfast with wife

   5/16/2015 7:18:24 AM(UTC-4)                         iMessage: +18108583287



   Yes on letting dust settle. That's fine. I was just curious if it is hours (like same day) or a day or a week.
  Thanks. Enjoy!

   5/16/2015 7:19:29 AM(UTC-4) "+18108583287 David Horr"                         iMessage: +18108583287
                    +18108583287 David Horr

   I'll ask

   5/16/2015 7:19:37 AM(UTC-4) "+18108583287 David Horr"                         iMessage: +18108583287
                    +18108583287 David Horr

   Prayers bro




                                                                                                     WIN000333
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  To: +12694913600          5/23/2015         5/23/2015 1:53:47 PM(UTC+0)                Sent Sent
           I hope all is well; I fell back asleep and now I am off to doing some activities with the gang. My
  heart is in prayer for you and your ms today.       Yes

  To: +12694913600          5/23/2015         5/23/2015 7:26:58 PM(UTC+0)                Sent Sent
           I hope your doing well; you have been kind of silent today; if you can give me some idea how
  your doing that would be great. If not then no problem. Yes

  To: +12694913600          6/17/2015         6/17/2015 7:47:47 PM(UTC+0)                Sent Sent
           Hey Dave thanks! Yea that stuff can be irritating; i normally don't get rattled too much; i am just
  trying to be at peace with it all and rest in him and trust in him on it all; not always easy in such times
  but it is what it is. I appreciate your prayers. God bless you!      Yes

  From: +12694913600 6/19/2015                6/19/2015 1:35:48 AM(UTC+0)                In box Read
           http://www.eclectablog.com/2015/06/three-big-runnors-swirling-in-michigan-involving-todd-
  courser-cindy-gamrat-lon-johnson-and-rick-snyder.html

  To: +12694913600          6/19/2015         6/19/2015 4:54:51 PM(UTC+0)                Sent Sent
           Nope TV crew is here and shooting in a few so if it's ok I'll call you a little later. Also Brad wants a
  call back as well so let me get this done

  To: +12694913600          6/21/2015         6/21/2015 12:18:18 AM(UTC+0)               Sent Sent
          "Sounds like you Re having some log off time and don't joe what to do with yourself; we just
  finished the party and stopped to get some stuff and are now heading home; pretty tired myself and I
  Haven't done anything! Lol :)




  I hope you are doing well and that your night goes well. I'll be praying for you and all of them. "

  From: +12694913600 6/22/2015                6/22/2015 1:01:24 AM(UTC+0)                Inbox Read
          "Good visit with my dad, going to stay at my moms tonight and head out early in the morning.

  Hope you have a great Father's Day evening!"

  From: +12694913600 6/22/2015                6/22/2015 9:26:29 AM(UTC+0)                Inbox Read
          Good morning! I hope you had a great night! I am up and driving if you happen to be up early
  and want to talk. Otherwise I hope you get to sleep in and r

  From: +12694913600 6/22/2015                6/22/2015 9:26:39 AM(UTC+0)                Inbox Read
          est a bit more this morning!:-)

  To: +12694913600          6/23/2015         6/23/2015 2:58:13 AM(UTC+0)                Sent Sent
          My phone is going to die but if you could say a prayer for us we are in the basement and it's
  weird outside and it's said we have a tornado right on top of us. Can't see it but it sounds like it and
  seems like it.




                                                                                                    WIN000334
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  From: +12694913600 6/23/2015             6/23/2015 3:34:04 AM(UTC+0)               Inbox Read
          Praying! Are you okay?

  To: +12694913600         6/23/2015       6/23/2015 3:42:18 AM(UTC+0)               Sent Sent
         We r ok; it's passed now and we are getting ready for bed; thanks sleep well. It was really wild
  for a few minutes.

  From: +12694913600 6/23/2015             6/23/2015 3:42:45 AM(UTC+0)               Inbox Read
         When you get your phone back, let me know if you are okay. Lord I ask you to protect Todd's
  family tonight through the storm, Father keep them safe and

  From: +12694913600 6/23/2015             6/23/2015 3:43:22 AM(UTC+0)               Inbox Read
         sound tonight!

  To: +12694913600         6/23/2015       6/23/2015 3:43:33 AM(UTC+0)               Sent Sent
         God bless you! Thanks! Like I said it was crazy for a bit

  From: +12694913600 6/23/2015             6/23/2015 3:49:30 AM(UTC+0)               Inbox Read
         :-)

  From: +12694913600 6/23/2015             6/23/2015 3:49:41 AM(UTC+0)               Inbox Read
         Sleep well:-)

 To: +12694913600          6/24/2015       6/24/2015 1:22:42 AM(UTC+0)               Sent Sent
         O0000 la la! :)

  From: +12694913600 6/24/2015             6/24/2015 1:31:06 AM(UTC+0)               Inbox Read
         Lol, it was huge! I won't be able to eat for 3 days! Enjoy the stars and lights!

  From: +12694913600 6/24/2015             6/24/2015 2:23:09 AM(UTC+0)               Inbox Read
         Made it! This place is beautiful, right on the water and across from the lighthouse:-)

 To: +12694913600          6/24/2015       6/24/2015 2:34:09 AM(UTC+0)               Sent Sent
         Awesome to hear! Have a great night! Do you see any northern lights yet?

  From: +12694913600 6/24/2015             6/24/2015 3:39:21 AM(UTC+0)               Inbox Read
         No lights though.

 To: +12694913600          6/24/2015      6/24/2015 1:26:47 PM(UTC+0)                Sent Sent
         Good morning! I hope you had a good night and slept well!

 To: +12694913600          6/24/2015       6/24/2015 10:08:35 PM(UTC+0)              Sent Sent
         Ok you have me concerned now I haven't heard from you? :)

  From: +12694913600 6/24/2015             6/24/2015 10:10:19 PM(UTC+0)              Inbox Read
         I'm going to stay the night here. Still working out what tomorrow looks like.




                                                                                              WIN000335
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  From: +12694913600 6/24/2015                6/24/2015 10:10:29 PM(UTC+0)             Inbox Read
          I'm going to stay the night here. Still working out what tomorrow looks like.

  To: +12694913600          6/24/2015         6/24/2015 10:25:39 PM(UTC+0)             Sent Sent
          Ok no problem; how are things going?

  To: +12694913600          6/24/2015         6/24/2015 10:59:14 PM(UTC+0)             Sent Sent
          Well I am not sure if your getting my texts or if your just not able to respond, but I hope you are
  having a good night; I am heading to watch sword class demo and just pushed a bunch of paper out of
  my office. So I hope all is well with you. :)

  To: +12694913600          6/24/2015         6/24/2015 11:32:45 PM(UTC+0)             Sent Sent
          If it makes you feel better I can just not meet with them until you come home so your not
  feeling out of the loop. Just let me know if that helps you rest a bit easier. I am not wanting to make you
  not come home I am just trying to encourage you to take your time when its been appointed; it will all
  be here when you get back and we can get after it all soon enough again.

  To: +12694913600          6/25/2015         6/25/2015 12:32:25 AM(UTC+0)             Sent Sent
          I hope you have great night! I sent you a text a bit ago but not sure you got it; if not let me
  know. It just says I can hold off on meeting; so if you didn't get that I can resend the text.

  From: +12694913600 6/25/2015                6/25/2015 1:14:07 AM(UTC+0)              Inbox Read
          And if I don't make it then at least you've made some progress!:-)

  To: +12694913600          6/25/2015        6/25/2015 1:47:32 AM(UTC+0)               Sent Sent
          Not sure what you are trying to say. You are you lamenting me meeting with them without you?
  You seem almost in despair over the idea. If you want me to just cancel it I am glad to do so. My stuff
  won't take long to update and either they will have some items done or they won't remember them or
  they will give me excuses. In any event my stuff if you think it's critical for you to hear then it can wait
  for you to be there. But enjoy your night and we can chat on it a bit later. Enjoy your night and have a
  good time and make some memories. :)

  From: +12694913600 6/25/2015               6/25/2015 3:25:37 AM(UTC+0)               Inbox Read
          Goodnight, sleep tight:-)

  To: +12694913600          6/28/2015        6/28/2015 3:02:14 AM(UTC+0)               Sent     Sent
          Yea it was an amazing journey to walk all of that out with tozer; I am glad your taking the time to
  get acquainted with him.

  From: +12694913600 6/29/2015               6/29/2015 7:22:46 PM(UTC+0)               Inbox Read
          a look at it and let me know what you think.

  From: +12694913600 6/29/2015               6/29/2015 7:22:46 PM(UTC+0)               Inbox Read
          I'm going to head into my event here in a few minutes, I just sent you the final version of The
  religious freedom petition that Justin made. Please take




                                                                                                   WIN000336
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  To: +12694913600          7/1/2015          7/1/2015 1:13:42 AM(UTC+0)                  Sent Sent
           I would like to meet post meeting as well I am selfish about that; so I am a bit torn on the idea;
  would you be upset if I asked her to come? Really let me know if you have strong feelings on it; I won't
  be upset if you want me to just let it go; the way you let me know is to say "just think on it." i will wait
  till before bed to ask her and then I'll ask her if she is up for it or not; it's a long ride. I really need some
  time with her and its a good spot to have her think again on college but again it's a hell of a long ride 3.5
  hours from here or more if she is driving so I am a bit torn on it tonight on it all for a variety of reasons.

  From: +12694913600        7/3/2015          7/3/2015 5:08:24 PM(UTC+0)                  Inbox    Read
          Anne really doesn't know the broader ring of it all

  From: +12694913600        7/3/2015          7/3/2015 5:44:00 PM(UTC+0)                  Inbox    Read
          Just praying Gods hand is in it.

  To: +12694913600          7/3/2015          7/3/2015 5:44:48 PM(UTC+0)                  Sent     Sent
          ":) how would

  You describe it? "

  To: +12694913600          7/3/2015          7/3/2015 6:41:10 PM(UTC+0)                  Sent     Sent
          "No we have zero chance of success or even of surviving this, personally much less political, but I
  like our odds. :)




  To: +12694913600          7/3/2015          7/3/2015 6:53:58 PM(UTC+0)                  Sent Sent
          This is where He has to come in and move and carry us or not. It's in His hands and we are in His
  hands and that is very reassuring to me. We will just do what we can do and then we have to let go and
  let Him do it and faithful and trusting and loving in how we walk it out; we can't change what we can't
  change but we can change what we can and we should just do what we can to work thru each moment
  and relationship as best we can.

  To: +12694913600          7/3/2015          7/3/2015 6:59:30 PM(UTC+0)                  Sent     Sent
          Not to the water just yet :)

  To: +12694913600          7/3/2015          7/3/2015 8:32:34 PM(UTC-1-0)                Sent Sent
          U didn't answer back? I found the water. :)

  To: +12694913600          7/4/2015          7/4/2015 1:59:44 AM(UTC+0)                  Sent Sent
          Family dynamics sounds interesting; have a great time at the beach on the fireworks. Not sure it
  may have been me blocking all but I don't know if I did it right or not? I shut down who could see my
  stuff and friends and whatever when the anonymous stuff started.




                                                                                                      WIN000337
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  From: +12694913600 7/6/2015                     7/6/2015 2:27:45 PM(UTC+0)          Inbox Read
           All set with Tim for 11:00

  From: +12694913600 7/6/2015                     7/6/2015 2:28:05 PM(UTC+0)          Inbox Read
           The boys are upstairs, I'm in office with Anne.

  From: +12694913600 7/6/2015                     7/6/2015 2:28:13 PM(UTC+0)          Inbox Read
           Then you and Ben

  From: +12694913600 7/6/2015                     7/6/2015 2:28:13 PM(UTC+0)          Inbox Read
           First me and Keith

  From: +12694913600 7/6/2015                     7/6/2015 2:28:14 PM(UTC+0)          Inbox Read
           Will give extended benefits

  From: +12694913600 7/6/2015                     7/6/2015 2:43:07 PM(UTC+0)          Inbox Read
           I just told Tim it's not a good fit.

  From: +12694913600 7/6/2015                     7/6/2015 2:44:30 PM(UTC+0)          Inbox Read
           Also pushing the meeting back to 11:30.

  From: +12694913600 7/6/2015                     7/6/2015 2:44:53 PM(UTC+0)          Inbox Read
           Gives you some extra time and i have to go to the bank

  To: +12694913600           7/6/2015             7/6/2015 10:28:40 PM(UTC+0)         Sent Sent
           Called but it went to voice mail. Driving now.

  To: +12694913600           7/7/2015             7/7/2015 11:48:14 PM(UTC+0)         Sent Sent
          Thanks! I am beat. My phone has like .000001 percent left! :)

  From: +12694913600 7/7/2015                     7/7/2015 11:56:17 PM(UTC+0)         Inbox Read
          Are you done already?

  From: +12694913600 7/9/2015                     7/9/2015 1:08:13 AM(UTC+0)          Inbox Read
          Call h in 5

  From: +12694913600 7/9/2015                     7/9/2015 1:12:55 AM(UTC+0)          Inbox Read
          Can u call me?

  To: +12694913600           7/9/2015             7/9/2015 3:33:52 AM(UTC+0)          Sent Sent
          "Hey it was a crazy day; I hope you got there safe and are ok tonight; I would say just give it all
  up and let God have this one and just let it go and get some rest and get some sleep. We can fight about
  it all and thru it all tomorrow. :)




  Sleep well. "




                                                                                                  WIN000338
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  From: +12694913600 7/9/2015               7/9/2015 3:13:27 PM(UTC+0)                 Inbox Read
          I tried calling

  From: +12694913600 7/9/2015               7/9/2015 3:13:36 PM(UTC+0)                 Inbox Read
          Went to voicemail

  From: +12694913600 7/9/2015               7/9/2015 3:13:37 PM(UTC+0)                 Inbox Read
          Honestly though your revised letter sounds really good.

  From: +12694913600 7/9/2015               7/9/2015 7:05:28 PM(UTC+0)                 Inbox Read
          Got it

  From: +12694913600 7/11/2015              7/11/2015 12:41:16 AM(UTC+0)               Inbox Read
          Not sure what is up with the connection

  To: +12694913600          7/13/2015       7/13/2015 12:55:36 AM(UTC+0)              Sent Sent
          So really you just decide how all your stuff firs for tomorrow and then we can work around it. I
  can come over to Lansing and lock some admin out and eye the stuff you have and do my email out and
  then drift back this way. Or it can all wait till Tuesday. Or I can wait till you come over this way tomorrow
  to see just see what your looking at and chat then. It's honestly your call. I can't be sure but I think any
  of those scenarios can be doable and might work. But it's all dependent on your window and timing and
  what you have on your plate.

  To: +12694913600          7/18/2015       7/18/2015 2:33:41 AM(UTC+0)               Sent Sent
          And do you have AM?

  To: +12694913600          7/18/2015       7/18/2015 2:41:15 AM(UTC+0)               Sent Sent
          I am probably missing something but if the air just goes out and it won't hold air then you can't
  really drive it there. But maybe I am not understanding.

  To: +12694913600          7/20/2015       7/20/2015 4:52:24 PM(UTC+0)               Sent Sent
          Then down to sun my agate white body in the sun on the beach:)

  To: +12694913600          7/22/2015       7/22/2015 7:18:33 PM(UTC+0)               Sent Sent
          I hope your afternoon is going well I am on the beach :)

  From: +12694913600 7/22/2015              7/22/2015 9:11:50 PM(UTC+0)                Inbox Read
          Me too:-)

  From: +12694913600 7/22/2015              7/22/2015 9:11:52 PM(UTC+0)                Inbox Read
          Enjoy!

  To: +12694913600          7/27/2015       7/27/2015 9:08:14 PM(UTC+0)               Sent Sent
          K i just walked out of my meeting it will be a few minutes for everyone to clear out.




                                                                                                  WIN000339
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   From: +12694913600 7/30/2015            7/30/2015 1:48:22 PM(UTC+0)               Inbox Read
          I'm going to keep calling until you pick up, so please pick up.

  To: +12694913600          7/31/2015      7/31/2015 8:46:27 PM(UTC+0)              Sent Sent
          I am sorry I am just seeing this; I am taking the gang to Lexington for a bit to swim and play on
  the beech. I hope your time with Mary was all that you could have hoped and dreamed. :)

  From: +12694913600 7/31/2015             7/31/2015 10:10:26 PM(UTC+0)             Inbox Read
         Call you in 2

  To: +12694913600          7/31/2015      7/31/2015 10:11:26 PM(UTC+0)             Sent Sent
          K

  From: +12694913600 8/2/2015              8/2/2015 12:32:18 AM(UTC+0)              Inbox Read
          But when you get a chance let me know that everything is okay.

  From: +12694913600 8/2/2015              8/2/2015 1:43:22 AM(UTC+0)               Inbox Read
         Sorry for snapping at you earlier. Have a good night and hope you get a good soak in the tub:-)

  From: +12694913600 8/2/2015              8/2/2015 11:00:05 AM(UTC+0)              Inbox Read
         "Happy Birthday!......`' kk,f          f !!

  May the Lord give you a tremend"

  From: +12694913600 8/2/2015              8/2/2015 11:00:16 AM(UTC+0)              Inbox Read
         ously awesome day! And may He bless you with many more to come! God

  From: +12694913600 8/2/2015              8/2/2015 11:00:17 AM(UTC+0)              Inbox Read
          bless you today Todd!

  To: +12694913600          8/7/2015       8/7/2015 9:27:24 PM(UTC+0)               Sent Sent
         Ok

  To: +12694913600          8/8/2015       8/8/2015 3:17:49 AM(UTC+0)               Sent Sent
         Ok not sure where you ended up? did you find a place? Or are you half way to old Mexico? :)

  To: +12694913600          8/8/2015       8/8/2015 3:17:54 AM(UTC+0)               Sent Sent
         Sleep well. :)

  From: +12694913600 8/8/2015              8/8/2015 3:35:06 AM(UTC+0)               Inbox Read
         Talking with Anne

  From: +12694913600 8/8/2015              8/8/2015 3:35:35 AM(UTC+0)               Inbox Read
         Really good talk

  To: +12694913600          8/8/2015       8/8/2015 3:36:02 AM(UTC+0)               Sent Sent
         Well good; that sounds good. Sleep well.




                                                                                                WIN000340
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   From: +12694913600 8/8/2015               8/8/2015 3:38:14 AM(UTC+0)               Inbox Read
         You talk

  To: +12694913600         8/8/2015          8/8/2015 3:39:15 AM(UTC+0)              Sent Sent
         Yes I can try quiet for a minute.

  To: +12694913600         8/8/2015          8/8/2015 1:09:02 PM(UTC+0)               Sent Sent
         Good morning!

  To: +12694913600         8/8/2015          8/8/2015 3:03:57 PM(UTC+0)              Sent Sent
         If you can tell me you are ok it would help me. It's no big deal if you can't.

  From: +12694913600 8/8/2015                8/8/2015 3:05:05 PM(UTC+0)               Inbox Read
           I'm ok finishing my morning meeting, sorry. I'll call in a bit.

  From: +12694913600 8/8/2015                8/8/2015 3:09:36 PM(UTC+0)               Inbox Read
           Are you ok?

  To: +12694913600        8/8/2015           8/8/2015 3:18:40 PM(UTC+0)              Sent Sent
         Oh I forgot about that; enjoy; I am doing ok???

  From: +12694913600 8/8/2015                8/8/2015 3:42:07 PM(UTC+0)               Inbox Read
         I can talk if you want to call

  To: +12694913600        8/8/2015           8/8/2015 3:46:51 PM(UTC+0)              Sent Sent
         What kind of window do you have?

  To: +12694913600        8/8/2015           8/8/2015 4:12:36 PM(UTC+0)              Sent Sent
         I tried to call but it just gives me no signal?

  To: +12694913600        8/8/2015           8/8/2015 4:12:44 PM(UTC+0)              Sent Sent
         I'll try from the office phone.

  To: +12694913600        8/8/2015           8/8/2015 4:19:45 PM(UTC+0)              Sent Sent
         Sure

  To: +12694913600        8/9/2015           8/9/2015 2:46:49 PM(UTC+0)              Sent Sent
         Good morning! I have tried to call a couple of times but it keeps going to voicemail.

  To: +12694913600        8/9/2015           8/9/2015 3:30:04 PM(UTC+0)              Sent Sent
         If you can at least respond to be to tell me you are ok it would help me. If you can't I
  understand.

  To: +12694913600        8/9/2015           8/9/2015 5:16:38 PM(UTC+0)              Sent Sent
         Hey please don't shut me out. Please don't.




                                                                                                 WIN000341
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  To: +12694913600         8/13/2015          8/13/2015 12:05:52 PM(UTC+0)            Sent Sent
          Good morning; I hope you slept well; hiding in my office again; lots happening in my mind
  overnight on all this; feel no need to respond immediately to it, I know it's early; a couple of
  developments - dan sent the texts and I asked him to do a summary of what surrounded his
  involvement; I blind copied you on that email back to him so we can eye the texts and decide which we
  want to release. Also I text tim On my meeting with him and I set up 8 am Monday morning. We need to
  decide on handing over a copy of the cartoon and also about Ann's tape as well. Finally overnight I
  thought about what they could have taped and how we are intertwined in our testimony on all of it and
  first we have to be in unison as best we can and second we might need to explore with counsel filing for
  an injunction on the takings to challenge the Sullivan case and see if the court is able to in some way
  stop the house expulsion efforts from using these tapes. Essentially challenging the legislatures
  authority to use this evidence in their actions against us.

  To: +12694913600         8/13/2015          8/13/2015 12:06:54 PM(UTC+0)            Sent Sent
          Aaaaaand finally do you have different thoughts on Skubick? Or no?

  To: +12694913600         8/14/2015          8/14/2015 5:02:28 PM(UTC+0)             Sent Sent
          Lord please grant Your peace and comfort right now. Give you presence to all who come and let
  Your Holy Spirit fill that place. Lord I just pray You would show yourself mighty and strong and inspire us
  to Your Greatness! Father right now just fill Cindy with all the love and joy and peace that You have and
  grant her Your voice for such a time as this. Let them see what a redeemed soul looks and sounds like
  and may Your word go out! God bless you Cindy and I am so sorry for all the trouble I have caused you
  and your family. I'll be praying for you.

  To: +12694913600         8/14/2015          8/14/2015 6:28:48 PM(UTC+0)             Sent Sent
          Amen! Good job! :)

  From: +12694913600 8/14/2015                8/14/2015 6:57:33 PM(UTC+0)             Inbox Read
          It was harder than I thought, thank you for the prayer!

  To: +12694913600         8/14/2015          8/14/2015 7:08:28 PM(UTC+0)             Sent Sent
          No problem; I assume your busy so we can chat later when you get freed up.

  To: +12694913600         8/14/2015          8/14/2015 9:18:58 PM(UTC+0)             Sent Sent
          Not sure if you will be free to speak any time soon but if you can give me a idea on how your
  doing I would appreciate it. Just so I know if a time is going to happen.

  To: +12694913600         8/14/2015          8/14/2015 11:34:28 PM(UTC+0)            Sent Sent
          Get some rest detox and run and drink and eat because we have a lot of work to do.

  To: +12694913600         8/15/2015          8/15/2015 2:09:35 PM(UTC+0)             Sent Sent
          I am glad you were able to get some rest. Take your time.




                                                                                                     WIN000342
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  To: +12694913600         8/15/2015        8/15/2015 5:34:25 PM(UTC+0)                Sent Sent
          If you think you will have some more time to chat let me know and I will gladly wait to visit again
  or if not then let me know that as well and I'll head out.

  To: +12694913600         8/15/2015        8/15/2015 6:23:43 PM(UTC+0)                Sent Sent
          No harm no foul; you have every right to take the steps that make sense to you for your family;
  you are free to resign or stay and fight; you do not need my blessing in anyway, but you have it for
  whatever path you decide to choose. I hope you are well and that your day and night are rest filled. God
  bless you.

  To: +12694913600         8/15/2015        8/15/2015 11:26:14 PM(UTC+0)               Sent Sent
          I know it is a really dark spot for you as it is for me so don't feel any obligation to stay on for me;
  just make sure what you decide is what God has for you and I know you will. I understand what you are
  considering and why; and just know I will be praying for you and your discussions with your children and
  your decision; Tuesday will be hell for sure even if no one says a word it will be hell to walk down that
  isle; if you feel the Lord has you at tapping out then I understand; if you are still feel God has some
  reason to walk it out we can then discuss the rest later. I'll be praying for you and yours.

  To: +12694913600         8/18/2015        8/18/2015 12:22:44 PM(UTC+0)               Sent Sent
          R u out and driving now or not yet?

  To: +12694913600         8/18/2015        8/18/2015 12:24:01 PM(UTC+0)               Sent Sent
          Well when you are and if you want to chat give me a call they decided to drive separately my
  aunt Deb has some issues that apparently she needs to be more in a lay down position and she's
  traveling

  To: +12694913600         8/18/2015        8/18/2015 6:34:10 PM(UTC+0)                Sent Sent
          I tried to call you but it went to voicemail so I just stepped out for the second caucus is going to
  do a walking but we could chat on the phone for a minute but I'm assuming you're probably busy or just
  just dealing with all of it so anyway I just wanted say•i and I'll look forward to talking to you in a bit bye-
  bye

  To: +12694913600         8/18/2015        8/18/2015 7:08:29 PM(UTC+0)                Sent Sent
          If u can tell me you are ok it would help me. You don't have to but it would help me.

  From: +12694913600 8/18/2015              8/18/2015 7:30:21 PM(UTC+0)                Inbox Read
          I'm sorry I have just really been trying to work it out minutely minute honestly.

  From: +12694913600 8/18/2015              8/18/2015 7:30:59 PM(UTC+0)                Inbox Read
          Just trying to get through the day today and take it as it goes.

  To: +12694913600         8/18/2015        8/18/2015 7:33:09 PM(UTC+0)                Sent Sent
          No problem I'm not your theater cost or is this what me know your OK and still alive so glad to
  hear it thank you - Karen said they are back in session now or no?




                                                                                                   WIN000343
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  To: +12694913600           8/18/2015      8/18/2015 7:34:05 PM(UTC+0)                Sent Sent
          Lol I used voice to text so it screwed up the last text. :)

  From: +12694913600 8/18/2015              8/18/2015 7:35:50 PM(UTC+0)                Inbox Read
          Yes

  From: +12694913600 8/18/2015              8/18/2015 7:36:00 PM(UTC+0)                Inbox Read
          They are back in

  To: +12694913600         8/18/2015        8/18/2015 7:37:43 PM(UTC+0)                Sent Sent
          I am upstairs in the back of the gallery.

  To: +12694913600         8/18/2015        8/18/2015 7:38:08 PM(UTC+0)                Sent Sent
          Just taking this moment by moment now.

  From: +12694913600 8/18/2015              8/18/2015 7:39:00 PM(UTC+0)                Inbox Read
          I understand

  To: +12694913600         8/18/2015        8/18/2015 7:39:07 PM(UTC+0)                Sent Sent
          Karen is doing a bit of looking and asking about the steps to censure and expulsion.

  From: +12694913600 8/18/2015              8/18/2015 7:42:09 PM(UTC+0)                Inbox Read
          Ok good

  To: +12694913600         8/18/2015        8/18/2015 9:48:46 PM(UTC+0)                Sent Sent
          K

  To: +12694913600         8/19/2015        8/19/2015 2:54:42 AM(UTC+0)                Sent Sent
          What we are dealing with - some of it is you and some me and some both of us - 30 media
  moments today to a wall of cameras and dealing with a world wide sex scandal, hundreds of calls for
  media, entertainment tonight, inside addition, dr Phil, good morning America, cnn, not to mention
  spouses, children, a censure hearing, an expulsion effort, a recall effort, a plethora of calls for
  resignation, an anonymous blackmailer, a new road tax, a state police investigation, an attorney general
  investigation, and a local paper editor that hates me, two challengers, Not to mention they are just
  inching to put me in prison. And that was just today. I need help on what can be done in this situation
  and what can't, because the other side has a plan and I don't know what it is or what hand they are
  holding, so can I be recalled and if so how, can I be censured, expelled, jailed, or disbarred if so how and
  how not.




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   lasinop .31o!qtnis tua 'palm rem amieu sriapodai ulpain s pue 2u1pra.i panupuoo Jasinop •spadsns aigIssod

                       000 1Z                                          917 1 1                               1110ciall
                    ssvio mid                                  aaniaon 31AILL                     INaUlDNI IVNIORIO
        (YI) SI-6011700017EO                               SIOZ 'VI NnV 1.13      aa► od algIS Jo luanipreclau ug2PPIIAI
                    'ON IN3C110111                             aiva TiN110120
                                                                                                 WIN000352
  Case 1:18-cv-01232-PLM-PJG ECF No. 188-5, PageID.4842 Filed 07/23/21 Page 25 of 57


                                                                                                                El 10 g
                                                                                          L.Z17# NRNAVO Ildl.    3DVci
AS CHM.MARI                        #Afl CE.LII0ciali                                      Ail aaLVDUSSANT
                                                                          '12ILUYO .10J JOJJU1S '2 ST OLIM uud
  `Jaffels -e pTol Xagi -paddel aum uaag peg aoujo sps.moD lutgl patuirjuoo peg uag pue tmax pasytp-e iasmoD

         - pastaTai ag Iltnn TT JO MOU uSTsaJ of JasmoD sisal pu-e „Aureals„ BuTag autos `oapvt puu sasruoTd SUIT uag
  Turn saes Japcal atil t maul alp 4211 uag Luau oTpnr alp alarg Tap Jalioda.1 asp Si „pugD„ Top pasTApe las.moD
•„pega, suoiguaur pure u2Tsar of AptuD pu ppoi Tog ioj sIst Japmi. ata „••tuooq-el alai ool --paualsil iciduus
no/CA pauaddrg anug wont It gm --BuFzeury„            i.sany uo &gag auogd slg tuoJj spcal pug alp puaz Jas.moD

                                                                                                     uTe.UT 0111 Jo
Oultrupag aqi re Lam Pion Aprn3 pasuipe JOSJT1OD 'own-e alp p.reag pug gdas.of Tern pure „spunos ToTTIT„ uatp puu
  suopusiantroo autos 2trlag jo ofpnv aril mogr ttug pTol Apup wtp pasptpu aH st (gnu am mint mom' 1,usaop
ag Tarp pasptpe JOS.MOD •11=0 LICIOSOf SUM oTpnu atp p1V311 suss 1B1.11 LIOSJOd 410 3T.p. Tap pasptpe uaip Jas.moD

               sigdasof sum 1T ino punoj at” pup pasTApe Jas.moD mui ui iatparg s,Xpu-TD Oupg toa pue Jatpoiq
       siJas.moD 2ulag urea •zagumu auogd alp ol paaiuri Amssod Btqag se ura pure urea saureu Japcal a4T `spcal
   alp U retp paslAp-e ias.moD '61799170g-09Z :2uTag ixal lxau ag2 ral palsIT sum Jagumu auogd sp.rareo liclasof

                                                                                                        „1.,diag
    of _tau° -spun] alums paau kern T„ pawls sycal Jxau alp lop paspkpu JasmoD -inogu sT lutpi.-egm tam ou pug
   ag Imp paspt.pe iasmoD pip ag aJojaq Irejle Ire pug apm (s,JasmoD) srq lug; BuRels spcal arour peal Jasino0

                                                                                                    - alunprd
  ag 02 parapTsuoo i.ou sum 1.! Imp pure amm pTIOM umouulam Allard sem Jagumu auogd srg legl palou JasmoD

                  'SIOSJUIS se UOTIMILIOJI11 fellOSJOd SU( 01 SSOOOP pug 'Cap Imp 2042 ar.p of anp panionuT ag keL11
    (C0141 SOAOTTOCI 311 "paloodsns aq SUOSJOd OS .10 0AJ atfl uaaNag Nun MOTIOUIOS SpC01 0111 legl pasptpu JasinoD

                                                                                                     •sloadsns
    aiggsod 2uTag se gun' kell pur JaAopti kur--1 paradsns JasmoD -2trIglatuos anrg Arm ag regl snoToTdsns ag
of g2notra tp.roj pure rug paroluntuuroo pug Aatp lugl pue sinamour tquwao rnoqe °Toads ag of 2updtuaue sum
  °tux lap palou Jas.moD -affix se cures alp auop peg Jaliow         paureu uosiad Jaupotre rem pawls Jas.moD

TOM JOA11 J3S31100 'iosinop lump uopurcuojuT angTsuas pug Arpallodar arum •urg riot pour pure JasmoD tpTm
  umop ITS of paltrem auni -2upaessaut loogaaej uo turg pagauardde peg auqx ict% rem pasptpe tragl IasinoD

                                                   - sJaglo uroaj Auourpsal lad 02 aigu aq /quo Tilm am sanaTiag
      ag Tegl palm uaup aH •Ipatu Trpos 10 3Toogaorj JO Trytua tOnarcp auop sum 2uFpou lug; pasTApr JasmoD

                                      -taatp iiu tplm spuapj sum lu.rtuvo gdasof iggl pasuipu Jas.moD •ualadurootu
°Jam /Carp asneoag pa.nj 3.13M X011-1 lutp. pasptpu JasmoD •sangeJado reopllod Tru 3.10M MOT pauopuatu icisnoptaId
      agl Jetp pasptpu Jas.moD Tidy Jo Timm alp ut 2trp.xal aup of Joprd Da uo12n-rgsrAk of dp u alma Jas.moD

        -aartp. pauopluatu Aisnoptaid alp gilm dIgs.rauved parqof 011M 31JEULISIOd pima Jo pasptpe Jas.moD •0S0T0
   fi.13A 0.10M tngsof pue 'Amax `.uag 'gaup. Tv Jug; pasptpu JOSMOD 'spadsris g aquo E 0.10M Xatp rap pasptpu

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                     ssv-D alld                             cramapas 33N1L                       INUGIDNI 'IVNI191110
        (WI) g I-60 T17000-17E0                        SIOZ `17I flli 113         aanod alms Jo luatulludaa ug2Tqam
                    'ON IN3CEDNI                            aiva T0\1101110                       WIN000353
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                                                                                                                   El JO 9
                                                                                                cal ratsUND Ildi    119Vd
AE C3MEIA311                              AE 431.21Ocil12f                                      AS GILVOLLSHANI
        iasmoo -auot[d 3       alj jjo uopsanb ut saussam Noogaouj pue saRessamlxai. aqT und o2 aIgt aq pinom
      1.TUfl 3m1.13 Jaindulop 3141. lutp. OS OuNd gao stq JOAO unu Spreiodmai. Sump& SEM 01th .13S.11100 paNsu

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lug rogand uo uosiad n uoptlauu stq ollg2noig SEM goaaq aauaZl jo aUrrIl ;rip as-pipe pawem osiu aH

                                                                            •Olup Jaw' u Joj mamalms
       alp do          aunt paluem puu papiap Dung luatuams bunion u Wpm paiuum aq t zosmoo paNsu I

                               -passnosm SEM TEUM Jo uogeogurp pue Xxemums               papniouoo SEM mapualm
     ai jo uoplod repurl agi •ag u s! 1pied Isom atp. Joj       irema agl u1 gm.4 jo aruiaN„ u Xigugoad azu aiaip
Tem pasTApe .13S.11103 'Xdoo u app..oid uso ag imp pasInpu JasmoD pLIE HELLI3 Reg 3SIEJ 31T1 pug aq j! umT pa)isu I

                                                                                             „pauaddeg 1.1 `si waigoid alp
Ong —dn apum Agewl sg„ •dn ovum                a3in slooi             ajorpt srLp slooi auoamos jt imp pawls lasmoo

                             •auogd sni uo panlaoai atE           spcal. aq4 uurg papuraa Jaupozg         paspipu Jasinop

                                                                           •Turaci Sam sp-41aS 1,upinoolsni aq lutp
   pasr.Ape JasmoD 7461 AIN nue           JO 111.61 AIN aJojag i.snc lamp sum 1i imp paslApe iasznop waplom pur
    icujje ag-unoq-e ono punoj iql-Txrej age uagm gimp pailnbul T `mayaaml stgjo wed Tepim alp Joj kuulluns ui

                                                                            •no pavatio peg ppom aiogm
    atp yetp pue .lanaoslugm 2u-pl3ag3 Aug op Tau pip aump. pasInpu JasmoD -mapualnl alp jo aum sup 2upnp
 auogd spl uo uogemiojm sut aluooiT,upfnoo      Jagumu palloatio        uosiad alp pug pap:Imam iasmoj

                                                                                         •„obi„ pasInpu JasmoD ..K424.sanui
        alr Arid g I J31.1.ELII 31[1. 011.11 3100[ 3UOXIIE pug gull amp tmg pa3ts-u I •dn atm° peg „goaa-T aauax„ jo OUTEU
r      pas!Ape                umolniun am wag J3citunu auogd age Te aiooi aidoad autos peg ag Term pasppu lasmoD
                                          iplm Irejjr srq lnoqe oggnd alp uopruuoju! SuIsralai auoamos jo              ump
waltp impo ou wag sug amp paslApu JasmoD •llu Jaicmui srg tplm palinsuoo 1011 SET.f                         pasInpu lasmoo
  - mow() ogqnd r 2m.monul aS.rego JETTELIIS JO uop.zolxa jo amp u i.nogr paimbm JasmoD                     z AFT uo anogu
    pauoguaut SEM ITORM imp limp Jaw Aauom Supvlonm                          jo uopuam Ott

                                                                                                       2mag
  sr llamas pure proiumop atp uagm goal Jamdmoo alp ams Suore         an mom all        paspwr Jas.moD •sod
    alp tplm auogd atp. anuai mum Ion pip aq lng XilzeJodulal auogd alp azias prnoo am TeLp JasmoD pasInpu

                                                                             -seimpoJg Sig Summom spcal
    amp gova jo sowgd Nom aq paslApu JasmoD •„autos /gni- ui autos umop pamois„ Xatp pasInpulng pip Aalp
    31uTtpl,upm ag    paslApv Jasmoo -snonurwoo aJOM SOT        smuom icuu paddpis pug spcal ag-4. jIpa)isr


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                      SSIFLO 311.3                                GEAI3DE21a1A111                             IVNIDI110
        (1971) ST-60Ii7000-17£0                              SIOZ `17I env 4113    33I1Oci awls Jo luauiPudaa uu2!q3uAl
                    'ON INIEGIONI                                 al,VG Tel■
                                                                           1101110
                                                                                                     WIN000354
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                                                                                                                        El JoL
                                                                                                  LZ17# 113NAVO 11(11    :10Vd
Aft COMMA311                          ,/r   i, Elir C131110dJ11                                  Aft GaINDIISHANI
        Josmoo • „adir4 Tua2u icinic„ su arm luair Aqm `Toadsns alp sem aq ma n! aq JT ras.moD po3ist i •Tuaprou!
         aip jo a2palmotn! s,uag pue 'Tiros aram slxol alp 'was sum !Tema aqp tiorqm jo sop alp uo ure2u ras.moD
 paluoijuoo I -oft siptrour 03.1111. SEM It Osntoaci irelap To-exa aqT .roquaruar 1,uprnoo 314 Trip pasInpu aH •p3ATOATII
         aim sum uag Tnq !lulu° Ire Tno puss of ame sum Rasurrq 'al pawls iosmoD •spiomssud put slun000t s!t!
 moqu 2uppArana M3111 uag Tali posrApe iosirrop -„icrt2 goal„ u sr uag Tuip paspipe ros.moD •uatualuls all tprm
 paartir las.mop •reura sup Tno 2u!puas u! Ts!ssu puu „pall alp alurrioou!„ col pourem al pawls at! Tem Touj oip uo
  .10s.mo3 pourorjuoo j •puelsrapun 1,01J pip aq Tap pasytp-e JosmoD •saftssour Txal orp tar uaaq anal pinoo maul
iptaire uag lull uoReuuojur alp Jo Auu Trip 142norR alit turq paNsu I Tam avj e Tno 21111)11os ul Tsrssu 01 rum
 2upise atoll 01IrES alp Te turq papadsns aq j! „Tua2u aignop„ a se uag asn of Tdruallg prnom aq Aim urn paNsu

                                                   „•aunt} 2uoi r .roj puopj uaaq srq aq •••saik„ `popuodsar ros.moD
      000dsrts aiqrssod g sum aq 1112noip noic Onotplu `TsIssu of uag poNsu noif os„ turq poNsu Ilsrssr pip Tnq
uutaa alp Tno Tuos JZA311 uag Tull pasInpu rasmop •uag of tp6 alp uo _urge alp Tnoqu uaaq p!ol aq lull posrAp-e
      JasmoD •turq 2u1T.xal uaaq aiml of auo ail si uag sanallaq put 'Irma sum !Tura alp Tnoqu main! lull LIOSIOd
 410 all astreoaq Imp sanaHaq JosmoD •„Tno lull Tuas Trip noX SEM lull motni !„ plus put Ts iz atp uo Nouq turt!
 panzal .rancor. all lull pasrApe J0511103 1:110Z kew uo Tno 1.r was aq paspipu 3H "1110Z       Su!spkge XiaTeIpounur
  al-up srq pa2uutio aq uot • -tp.6 i ArIN uo Tno was sum it pasrApe Jos.mop put Tno Tuos SEM Irma all uaqm tun!
  pa3Isu I „•eruo all Ino lugs morn! Top auo Apo all sum uag -our 5UTIreunpeN SEM auoauros lull 2urssnosrp
   advl all uo 1,ua.re tioulm Tipu Turp of dn Burpua! uirq 'Trim suopusranuoo prq popuodsar ras.moD ireuza all
   2urpuas Tnoqu uag zmm uogesranuoo Are puq aq Tutfutr!od Atm Tu jt unq po3isu I - „lreura all Tno pugs lot pH)
 aq„ Trip pos!Ape JasmoD put %Herm Bull asrej„ all Tno Sulpuos uo uag 2urtpuorddu Tnoqr ras.mop parrnbu!

               •aorioci owls all of 2urerroo s! 311 U0Stal all velp asnuoaq dn Tr Nool wpm aq Imp palms rasmoD
  •„icn2 auorid„ u sum jpf lull paspirre rasino3 • g oz NIL Tsn2nv jo aunt all pun= slip piano! al lap pasInpu
  rasinoD •anoqu palou sr oureu alp piano! put Nooqaouj uo m-rq paqouordd-e sdifirqd jpf Irgl posInpu rasmoD

         •polaiduroo sum winos alp 0.1014M umotniun s! TI •aureu stgl of Nouq oureo Jaqumu alp put gams e pip
 aH TOM WED JO 11015211FX all 1:110.1g puapj u /quo sr atpurp posrApe zosirroD •puopj voqao-ej E Si 011M sdtiiigd
      jj0f r ipp1A Sumads roue uorTuam srq of ilnorq sum alum alum orrredsrq impotre pelf posrApr rosinop

                                                                                                                   Il par! pInoo
   am Tem soniasmo llamas 01 OIOM am j! Trig aureu all umop van Ilim al lull posInp-e ..rasxnop •raquratuar lot
  ping par sivana JO ToI u le sum a! Tetp pasyipe monop •tulq pa-pearl:1de imp sum uosrad sill oqm mom! Tou
   saop rasmoD •otrgao aureu sill palroo! Trip uosrad e Aq Tirana tre le potproidde sum at! lull posInpu rosinop
      •oqm mouu,usaop Trig oulluo gams u pH) auoauros Tell pos!App aq par u-ruge wool aauoll Tnoqu pqs-e


                                                 •ouorld all JOAO 11.1111 01 TIMM liump puu stpuour 9 ..roj aouemanins
         to 2trrAq uaaq set! aq Imp pasInpu Jos.moD •uosaid 2tr!aq tart! Tnorprm auorid alp anua! of Tuem Tou pip
   Jasino3 •auoqd all 2trweolumop sum aq ally& 14001 ialnduroo alp oT Ixou umop its of paTuum al will posInpu
J052103 '„uaddril T,uprp It Trip anord pp-too I /cum 01J ST Onta„ gpapuodsai aq put uaddrig of SEM Turp jr sqor mo
 asoi moo ill am Tull; turq poslApre I • „T! uo 2urtpauros Ind lingo auoatuos•••pouadduq set( lull              •auoqd
iCur noiC 2u1.41 Tou tuu lull posrApp iasinop •ouoqd alp 21.112-las m aq pinom ssaoord all eqm tuuRe pau-ruidxa
     „Lsloom oml Joj auoqd .moiC morprm aq noic woo Tnq 2trprirrrp aze na TEIIM mount uop tprm popuodsoi

                           0001Z                                               9171 1                                   !Imam'
                       ssvero aa4                                     COAIHDMI 211Alli                  INTRUIDNII IVNI191110
        (VI) g I -6011700017EO                                    SIOZ 't 1 froe 'RI     aolloa awls Jo luawliudaa ue2!Ipm
                    .0N. •N3Q1D1s11                                   ILVCI1VNIORIO
                                                                                                         WIN000355
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                               0",                                                                            £ I Jo S'
                                                                                           cal113NAVD Ildi      1CYVd
Ail CEMMADI                             AEI GaL110c1211                                    Ail crawousanNi



                                                  „•UOSE3.1 OU sr aJatp ••oN„ paridai ras.moD pus 'amid lsig alb ur
  aorrod alms atp atuoo wrprp             UOSUOI E SEM 0.13111 .1! turq paAsu I •„aonod alms alp oil a 01 papaau am
sn pTol It Amu, „ panupoo Jas.moD •aoriocr            alp o1 ltram XpurD Iraqi •Igd alp puu jpaqs alp o1.1.uam au
   imp paspipu tarp iasmoD •„Ham se u5rsal Jag 2u-prsu are /cap pug ooh ututrruidmoo alp sr ApurD„ paiamstru
    ump .ras.moD •ueureiduloo aql sem aq }erp. urrq pasInpu I „•ial         luam I pue olur Suppoi Xpearre anAci
     39TIOd alms alp Tap. upnotpj„ paijdaa icruo zas.moD •alup srql uo aouazajuoo ssaid u 2upveq st aqs mot moq
      pus 'large° 1t papodat suq Xpurp lap Tor} aql lnoqe kgrn2 2uriaaj sum aq moq tpim JasmoD Suguatjuoo
  SUOSE3J imp° pappt osru I „••lnq —uosuar irej u aq pytom reqi, 2urop Joj suospaz aidpInur sr antp nam„
  Vapuodsat JasmoD •ssaoard alp uI uag 2ursn aipqm srejje srq dn JOAO° 01 1CILLIOUE 03 Iglu° atp 3no luas `iruuta
    alp no pups uorsroap Jood u sum 1! Bur-Tipp arrqm `aq Imp aa.ffe o3 luatualms irej u s! 31 jr Jasmop paNsu

                                                                     •srtp o1 spidai ur Jatparq srq 01 )uul pinoo
    lutp paspipu aH •„oN„ paridai pue parBne! aH •saffessaur Ixal alp puss o3 auo aql sem atur Jas.moD paNsu

                   vels srq jo auo sit sloadsns Xpao put umompan sr Japcal atp asnuoaq sum 31 °Tim mom! 1,uprp aq
  pasrApv ims JasmoD Truro alp Ino Surpuas lnoqe tart! o3 31orq             was        umotpran alp asnuoaq pa3pom
       31 put urrq 2urireunromq sum oqm uosiad pip. aluooi moo aq yr aas o3 Xxl o1. ino was aq          plus JasmoD
    •ardoad poz AT luarrxoidde l! was Arno aq puaisur put aidoad jo spuesnotp 03 lno pups o1. anal pinom aq
  palms aH 1u1p a3111 31.1om 1,upplom 3! lutp pasrApe ualp       aaau palrels ias.moD Tema alp nio plias o1 paau
 all Taal aq prp iCtIm os         icuurej srti irtp .101411U4 'mom' Xpea.rie Auurej stg 1eqm put 'amid uavl p-eq }Elm
    Auld umop pus Jrujje alp dn .13A00 03 SEM Hutu° alp ino 2urpuas Joj uospai atp uo up& Jasinop paluatjuoo I

                                                           . „Art2 alp„ aq uISpu ag upnotp aq imp inuj atp lot trap
Imp tuiq paau 1,uplp all Imp pasuipe aH •110SEal TUT .10j UOH 3331U ANED1y3OdS o3 paau alp 3Ia3 al icqm aasinop
     paNsu I •arqequo sum aq pros pus par& JasmoD quo 31 2trrpuas pus germ ue Burlum jo aiqedeo s! jiasturq
  `all    JasmoD prol I '31.10M 14003 JO ppm jo add Aire aoj sgq oq uosiad 'quo alp sr uag Imp pas!Aps IOSITIOD

                                 Irma alp ino Surpuas o3 2urnajai -„aoroqo pug u SEM 14„ ULESIE pappu Japinj 31-1
  •Imre srq JOAO dn JOAO° E .10j UOSE3.1 E aq 3t moo Ileum atp Surpuas            tupq pIol I UOITM „TtrAM„ `pasrApu
      Jasmoo •utua alp aouaiajai ure2-0 urrq paluoijuoo I uaqm uorsroap limns s 1,usum 1I Tap pas!&p-e rasmoD

                                                                                                      •JatpaBol sirmap
  alp Jo Are anutusuprp atorcp pasrve .13SMOD 'AUTAI OMITS 31 pavodai 3,upeq art AIM             urrq paNsu I •Jaadel
       ur jpaqs atp 03 31 podai Sou pip aq 3543 pasrApe Jasznop .„aut 2urdm uaaq syq ati irtg louj alp trap Jatpo
     prp Tap auo alp. SEM 314 12111 OAOld 1,1183 1T1I5 pasInpu J3511103 10OCIST1S 3111 SEM OITM 3U0 31.11 sum 110e TEIR
   °ADA 04 2urr3dtuaur `purtathiorq alp trr iillurej srq term 3r qBnoxql Niom o3 Supc.4 sum aq palms Iraq). Jas.mop
•aunt trr pmatp aq pasrApe JasmoD put `urrq paAsu aq uaqm palsu I •Jaqumu r 2trpioru Inoquzpaqs ktunoo
Jaadel alp tprm lam aq imp pagrApu JOSMOD 'inappul alp podai o3 OUIR SRI I1 palrem ag Arm .105111.03 paNSE

                                                 -Jas.moD o3 Surpoom turq 2urdm sum 'rag atup atuus atp 3u Irma
     alp uto puas o3 turq 2urdraq ut „oN„ paslApe nag lap palms Jasmop -„aseo alp Ion sum (Tnadsns alp ss turt1)
i.utp 2urdoq sem I --puapj u Si tag put JJrLls jo add imp Jauaq are sine noic lutp pasrme put aur paldnualur

                        000TZ                                         91711                               1110dall
                     SSYID 311.1                              aantapau act                       INT:UM IVNIDITIO
        (vi) SI-60'1700017EO                              SIOZ 'VI fllir `F3      azilloa alvls Jo luatupgda a uu2PPRAI
                  'ON 1R3:um                                  3IVCIWNI01110
                                                                                                 WIN000356
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                                                                                                                   El JO 6
                             d(7/7                                                                 liaNAVD II di
                                                                                               LZ-0#                :_ll.Ncl
AS ciamainau                          AS3 C111.110011         '                               AS CaLVOLLS3A NI
                                                                                                    jo ono
aouriffaiuns iapun wag srq JO SEM aq panallaq ias.moD          srq moij palaiap Jo pappu aq mom 2uppaulos
Trip plyxsu sum all pasrApg iasmoD .auoqd azIas of Jaadel (NIA' Sulmoo of wrasuo3 lou mom Jasznop .paluaia
                                                  :a/s1011c1 mamma anasaollvas OZ imasmoa

                                                                                                           .auoN .paIuaa
                                                                        :,LKIIAlgIVIS Kalinin&           Auv1Non0A
                                                                          .•.low' 1.78V XII zsram -gulp slip 12
 Teo auoqd aA903.1 imago SuquIp am na Trip Jaqumu auoqd aTTS -kilos La j„ Telp 2upuls 2ulpiooai ponlo3ai
      I *CtEg- I Zt- £ I £ uaqumu auoqd siiapcal umogun alp pruroo of paldulaur I 'smog 6Z80 12 Si-L1-80 u0
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